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                                      EXHIBIT 1

                                  Settlement Agreement




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                   SETTLEMENT AGREEMENT AND MUTUAL RELEASE

                 This Settlement Agreement and Mutual Release (the “Settlement Agreement”) is

entered into by and between Alfred T. Giuliano, chapter 7 trustee (the “Trustee”) to the estates of

Art Van Furniture, LLC, et al. (the “Debtors”),1 and not in any individual capacity, on the one

hand, and Daniel Roy Murphy and Kimberly Jean Murphy (together, “Defendants”), on the other

hand. Defendants and the Trustee may be referenced herein collectively as the “Parties” and/or

each as a “Party.”

                                                Background

                 WHEREAS, on March 8, 2020 (the “Petition Date”), each of the Debtors

commenced a case under chapter 11 of the Bankruptcy Code. The cases are being jointly

administered pursuant to Bankruptcy Rule 1015(b).

                 WHEREAS, on April 6, 2020, the Court entered an order converting the chapter

11 cases to chapter 7 (the “Conversion Order”) [Docket No. 263] effective April 7, 2020 (the

“Conversion Date”), and Alfred T. Giuliano was appointed as the chapter 7 trustee [Docket No.

264]; and

                 WHEREAS, prior to the Petition Date, Debtor AVF Franchising, LLC and

Defendants were parties to a Franchise Agreement dated February 3, 2014 (the “Franchise

Agreement”). Under the Franchise Agreement, the Defendants operated a furniture store using

the Art Van name selling Art Van products using Art Van’s Marks and franchise system. The

Defendants’ store was located at 1819 East US 23, East Tawas, Michigan 48730; and


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 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
include: Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings I,
LLC (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van
Furniture of Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF
Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463).



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                 WHEREAS, on May 4, 2022, the Trustee filed a complaint (the “Complaint”)

against Defendants asserting various causes of action, captioned Giuliano v. Murphy et al., Adv.

Pro. No. 22-50318 (CTG) (the “Adversary Proceeding”); and

                 WHEREAS, the Trustee and Defendants have discussed the resolution of issues

and have engaged in good faith, arms’ length negotiations; and

                 NOW, THEREFORE, for good and valuable consideration, the receipt and

sufficiency of which is hereby acknowledged, the Parties hereby agree that:

                 1.          Recitals. The recitals set forth above are incorporated herein by

reference.

                 2.          Settlement Amount. Defendants shall pay to the Trustee the total sum of

$30,000 (the “Settlement Payment”). The Settlement Payment may be paid by wire or check. If

by check, the Settlement Payment shall be paid in accordance with following wire instructions:

                 Bank:              TriState Capital Bank
                                    301 Grant Street, Suite 2700
                                    Pittsburgh, PA 15219
                 ABA #:             043019003
                 Swift #:           TRTTUS33
                 Acct #:            8100023012
                 Acct Name:         AVF Franchising, LLC

If by check, payment shall be made to Alfred T. Giuliano, Chapter 7 Trustee of Art Van
Furniture, LLC and sent to the following address: Giuliano Miller & Company, LLC, 2301 E.
Evesham Road, Pavilion 800 – Suite 210, Voorhees, NJ 08043.

                 3.          Settlement Payment Installment Schedule. The Settlement Payment

shall be paid in installments according to the following schedule:

    a. $8,000 shall be paid within five (5) days of approval of the Settlement;

    b. $6,000 shall be paid on or before December 31, 2022;

    c. $8,000 shall be paid on or before June 30, 2023; and



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    d. The balance ($8,000) shall be paid on before December 31, 2023.

                 4.          Court Approval. Promptly after the execution of this Settlement

Agreement, the Trustee shall file a motion seeking approval of the Settlement Agreement.

                 5.          Claims Waiver. Upon Court approval of the Settlement Agreement,

Defendants shall be deemed to have waived any and all claims that they filed or could have filed

in the cases of the Debtors, including but not limited to any filed proof of claim or scheduled

claim (the “Waived Claims”). All such Waived Claims shall also be deemed withdrawn from the

claims register, and the Trustee may make any appropriate adjustments on the claims register as

necessary.

                 6.          Trustee’s Release. Upon Court approval of the Settlement Agreement

and payment of the entire Settlement Payment, and except as otherwise provided in this

Settlement Agreement, the Trustee, solely in his capacity as chapter 7 trustee of the Debtors, and

not in any individual or other capacity, shall be deemed to have irrevocably and unconditionally,

fully, finally and forever waived, released, acquitted and discharged Defendants and the

successors and assigns of any of them (collectively, the “Defendant Releasees”) from any and all

claims, manner of actions, causes of action, suits, costs, debts, liabilities, obligations, dues, sums

of money, accounts, reckonings, bonds, bills, specialties, covenants, contracts, controversies,

agreements, promises, variances, trespasses, damages, judgments, executions and demands

whatsoever, of whatever kind or nature, whether known or unknown, suspected or unsuspected,

in law or equity, which the Trustee has, had, may have, or may claim to have against the

Defendant Releasees relating to the Franchise Agreement or the Complaint.

                 7.          Defendants’ Release. Upon Court approval of the Settlement Agreement,

the Defendant Releasees shall be deemed to have irrevocably and unconditionally, fully, finally



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and forever waived, released, acquitted and discharged the Trustee, the Debtors and their

bankruptcy estates, their past or present attorneys, accountants, financial advisors, directors,

employees, officers, parents, agents, subsidiaries, and the successors and assigns of any of them

(collectively, the “Trustee Releasees”), from any and all claims, manner of actions, causes of

action, suits, costs, debts, liabilities, obligations, dues, sums of money, accounts, reckonings,

bonds, bills, specialties, covenants, contracts, controversies, agreements, promises, variances,

trespasses, damages, judgments, executions and demands whatsoever, of whatever kind or nature,

whether known or unknown, suspected or unsuspected, in law or equity, which the Defendant

Releasees has, had, may have, or may claim to have against any of the Trustee Releasees relating

to the Franchise Agreement and the Complaint.

                 8.          No Admissions. This Settlement Agreement is not and shall not in any

way be construed as an admission by the Parties of any allegations made in connection with the

Franchise Agreement or the Complaint.

                 9.          Expenses. The Parties shall bear their own costs, expenses, and attorneys’

fees incurred to date in connection with this Settlement Agreement. In the event of any dispute

in connection with the enforcement of this Settlement Agreement, the prevailing Party shall be

entitled to its reasonable attorneys’ fees, costs and all necessary disbursements and out-of-pocket

expenses, whether statutorily approved or non-approved costs, incurred in connection with such

action or proceeding, as determined by the Court.

                 10.         Severability. The Parties agree that if any provision of this Settlement

Agreement is determined by a court of competent jurisdiction to be illegal, invalid or

unenforceable, that provision shall not be a part of this Settlement Agreement. The legality,




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validity and enforceability of the remaining provisions shall not be affected by a provision of this

Settlement Agreement that is illegal, invalid, or unenforceable.

                 11.         Miscellaneous.

                             (a)   Neither this Settlement Agreement, nor any statement made or

action taken in connection with the negotiation of this Settlement Agreement, shall be offered or

received in evidence or in any way referred to in any legal action or administrative proceeding

among or between the Parties hereto, other than as may be necessary (i) to obtain approval of and

to enforce this Settlement Agreement (including the mutual releases contained herein) or (ii) to

seek damages or injunctive relief in connection therewith.

                             (b)   Each of the Parties hereto shall execute and deliver any and all

additional papers, documents and other assurances, and shall do any and all acts and things

reasonably necessary or appropriate in conjunction with the performance of each of the Parties’

respective obligations hereunder.

                             (c)   No provision of this Settlement Agreement is intended to confer any

rights, benefits, remedies, obligations or liabilities hereunder upon any person other than the

Parties hereto and their respective successors.

                             (d)   Time is of the essence, and failure to pay the Settlement Payment as

and when required herein shall return the parties to their respective position status quo ante.

                             (e)   This Settlement Agreement shall be governed by and construed in

accordance with the law of the State of Delaware without regard to any choice of law provisions.

                             (f)   This Settlement Agreement may be signed in counterpart originals

and delivered by facsimile or email, which, when fully executed, shall constitute a single original.




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                             (g)   The United States Bankruptcy Court for the District of Delaware

shall retain exclusive jurisdiction (and the Parties consent to such retention of jurisdiction) with

respect to any disputes arising from or related to, or other actions to interpret, administer or

enforce the terms and provisions of, this Settlement Agreement.

                             (h)   Each person or entity who executes this Settlement Agreement on

behalf of another person or entity represents and warrants that he, she, or it is duly authorized to

execute this Settlement Agreement on behalf of such person or entity, has the requisite authority

to bind such person or entity, and such person or entity has full knowledge of and has consented

to this Settlement Agreement. The representations and warranties set forth in this paragraph

shall survive execution of this Settlement Agreement.

                             (i)   In executing the Settlement Agreement, each of the Parties

represents and warrants, for himself or itself, that: (a) he or it does so with full knowledge of his

or its available rights, (b) he or it is not relying and has not relied upon any representations made

by any person with regard to the Settlement Agreement, other than any written representations

and agreements contained herein, (c) he or it has had available to him or it such information as

him or it or his or its counsel considered necessary to making an informed judgment concerning

the Settlement Agreement, and (d) he or it has conducted such investigation as him or it or his or

its counsel deemed appropriate regarding the settlement and his or its rights and asserted rights in

connection with the matters that are the subject of the Settlement Agreement.

                             (j)   The Parties acknowledge that this Settlement Agreement constitutes

the entire agreement between the Parties with respect to the subject matter hereof, and all prior

agreements, negotiations and understandings with respect to the subject matter hereof are

canceled and superseded by this Settlement Agreement.



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